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             EXHIBIT 15
             REDACTED
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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION


BRIANNA BOE, individually and on Case No. 2:22-cv-184-LCB-CWB
behalf of her minor son, MICHAEL
BOE; et al.,                     Honorable Liles C. Burke

              Plaintiffs,

and

UNITED STATES OF AMERICA,

              Plaintiff-Intervenor,

       v.

STEVE MARSHALL, in his official
capacity as Attorney General of the
State of Alabama; et al.,

              Defendants.



   PLAINTIFF-INTERVENOR UNITED STATES’ DISCLOSURE OF
 REBUTTAL EXPERT TESTIMONY OF DANIEL SHUMER, M.D., MPH
      I, Daniel Shumer, M.D., hereby declare and state as follows:

      1.     I have been retained by counsel for the United States as an expert in

connection with the above-captioned litigation.

      2.     I have actual knowledge of the matters stated herein. If called to testify

in this matter, I would testify truthfully and based on my expert opinion.
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      3.     My background and qualifications, review of prior testimony, and

compensation have been previously provided in my expert report. Since submission

of my initial report, I have updated my curriculum vitae; the updated version

attached to this report is true, correct and up to date. My updated curriculum vitae is

attached to this rebuttal report as Exhibit R.2; it includes all my publications

authored in the last ten years. Additionally, in the past four years, I have been

retained as an expert and provided testimony in the following cases (updated and

revised list): Roe et al. v. Herrington et al., 4:20-cv-00484 (D. Ariz.); Dekker v.

Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.); Boe v. Marshall, No. 2:22-cv-

00184-LCB-CWB (M.D. Ala.); Roe v. Utah High Sch. Activities Ass’n, No.

220903262 (3d Jud. Dist. in and for Salt Lake County, Utah); Menefee v. City of

Huntsville Bd. of Educ., No. 5:18-cv-01481-LCB (N.D. Ala.); Flack v. Wis. Dep’t

of Health Servs., No. 3:18-cv-00309-wmc (W.D. Wis.); Whitaker v. Kenosha

Unified Sch. Dist. No. 1 Bd. of Educ., No. 2:16-cv-00943-PP (E.D. Wis.); In the

Interest of Younger, No. DF-15-09887 (Dallas County, Tex.); Doe et al. v. Ladapo

et al., 4:23-cv-00114-RH-MAF (N.D. Fla.); K.C. et al. v. Medical Licensing Board

of Indiana, 1:23-CV-595 (S.D. Ind.); Koe et al. v. Noggle et al., 1:23-cv-02904-SEG

(N.D. Ga.); Noe et al. v. Parson et al., 23AC-CC04530 (Cole County, Mo.); and Loe

et al. v. Texas et al., D-1-GN-23-003616 (Travis County, Tex., 201st Jud. Dist.). To

the best of my knowledge, I have not met or spoken with the Private Plaintiffs in this

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case. My opinions are based solely on my extensive background and experience

treating transgender patients.

      4.     I hereby provide a rebuttal report to respond to the expert reports and

supplemental reports provided by the Defendants. This report is provided after my

review of the original and any supplemental reports submitted by Dr. James Michael

Cantor, Dr. Paul W. Hruz, Dr. Kristopher Kaliebe, Dr. Michael K. Laidlaw, Dr.

Patrick W. Lappert, Dr. Geeta Nangia, Dr. Angela C.E. Thompson, and Dr. Farr

Curlin; documents outlining FDA correspondence with the Research Institute for

Gender Therapeutics, Inc. (HHS-0169993; HHS-0169973); and a study by Nolan, et

al., 2023.

      5.     In preparing this rebuttal report, I have relied on my training and years

of research and clinical experience, as set out in my updated curriculum vitae and on

the materials listed therein; the materials listed in the bibliography attached as

Exhibit A to my original report; and the additional materials listed in the

supplemental bibliography attached as Exhibit R.1 to this rebuttal report. The

sources cited in each of these are the same types of materials that experts in my field

of study regularly rely upon when forming opinions on the subject, which include

authoritative, scientific peer-reviewed publications.

      6.     I reserve the right to revise and supplement the opinions expressed in

this report or the bases for them if any new information becomes available in the

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future, including as a result of new scientific research or publications or in response

to statements and issues that may arise in my area of expertise. I may also further

supplement these opinions in response to information produced in discovery and in

response to additional information from Defendants’ or Private Plaintiffs’

designated experts.

                                    EXPERT OPINIONS

         7.     In this rebuttal report I will highlight examples of where Defendants’

expert reports demonstrate a lack of understanding of the nature, evaluation, and

treatment of gender dysphoria; the serious consequences of the condition if left

untreated; and the strength of the evidence in support of medical management of

gender dysphoria, including the efficacy and safety of these treatments. I will

identify statements that are misleading or not consistent with current evidence-based

standards of care or the general medical consensus.

         8.     Some of the specific critiques apply in equal measure to more than one

expert report.

    I.        Efficacy of Gender-Affirming Care

         9.     Dr. Laidlaw and Dr. Hruz are both endocrinologists not involved in the

medical treatment of gender dysphoria (Hruz Rep. ¶¶ 13, 154; Laidlaw Rep. ¶ 4)1.


1
 For the purposes of this rebuttal, references to Defendants’ experts’ initial reports will be cited
as “[Expert] Rep.,” and any supplemental reports will be cited as “[Expert] Supp. Rep.” Unless
otherwise specified, a supplemental report citation refers to a supplemental report served in
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Dr. Laidlaw states, “treatment interventions on behalf of children and adults

diagnosed with gender dysphoria must be held to the same scientific standards as

other medical treatments. These interventions must be optimal, efficacious, and

safe.” (Laidlaw Rep. ¶ 12). I agree with this statement; all medical interventions,

including treatment for gender dysphoria, require rigorous study and robust

evidence. The responsibility of all medical providers is to provide care for patients

with a goal of promoting health and wellness while minimizing risk; this can only

be done with a thorough knowledge of the patient, their disease process, and the

relevant scientific literature.

       10.     As a pediatric endocrinologist with vast experience in assessing and

treating transgender patients, I rely on review of the entire body of evidence in my

approach to gender diverse children and adolescents. This evidence suggests that

hormonal treatments, including pubertal suppression and gender-affirming

hormonal care, are efficacious, safe, and promote optimal health outcomes.

       11.     In my expert report, I referenced several studies that demonstrate the

efficacy and safety of gender-affirming care (Shumer Rep. ¶ II.1 n.18 (citing de

Vries, et al., 2014; de Vries, et al., 2011; Green, et al., 2022; Smith, et al., 2005;

Turban, et al., 2022)). Dr. Laidlaw states that I have not provided examples of studies



2024. Cross-references to other paragraphs within this rebuttal report will be cited as “Shumer
Rebuttal Rep.”
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with longitudinal data supporting the treatment of gender dysphoria in adolescents

(Laidlaw Rep. ¶ 78). De Vries, et al., 2014, follows a cohort of patients

longitudinally from early adolescence to adulthood and demonstrates alleviation of

gender dysphoria and improvement in psychological functioning. De Vries, et al.,

2011, provides longitudinal data focused specifically on GnRHa treatment and

demonstrates improvements in behavioral and emotional problems and

improvement in general functioning. In this rebuttal, I also note that Chen, et al.,

2023, published after the publication of current guidelines, presents longitudinal data

assessing hormonal interventions and demonstrates increases in appearance

congruence, positive affect, and life satisfaction, and decreases in depression and

anxiety symptoms.

      12.    The guidelines for the treatment of gender dysphoria were published by

the World Professional Association for Transgender Health (WPATH) and the

Endocrine Society (Coleman, et al., 2022a; Coleman, et al., 2022b; Coleman, et al.,

2012; Hembree, et al., 2017; Hembree, et al., 2009). Other leading medical bodies

including the American Academy of Pediatrics (AAP), the American Medical

Association (AMA), the American Psychological Association, the American

Psychiatric Association, and American Academy of Family Physicians (AAFP) all

support the tenets of these guidelines due to the rigorous nature of their review of

scientific evidence in the field (Rafferty, et al., 2018 (AAP); AMA & GLMA: Health

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Professionals Advancing LGBTQ Equality, 2019; American Psychological

Association, 2015; Drescher, et al., 2018 (American Psychiatric Association); Klein,

et al., 2018 (AAFP)). In June 2023, the Endocrine Society drafted a resolution to

protect access to evidence-based care for transgender and gender diverse youth

passed by the AMA, and cosponsored by, among others, the AAP, the American

College of Obstetricians and Gynecologists, the American Urological Association,

the American Society for Reproductive Medicine, the American College of

Physicians, and the American Association of Clinical Endocrinology (GLAAD,

2023).

      13.    Defendants’ experts attempt to undermine the WPATH standards of

care by characterizing WPATH as an “advocacy” organization in their expert reports

(Laidlaw Rep. ¶ 178; Hruz Rep. ¶ 104). Dr. Cantor suggests guidelines should be

written by “experts at arm’s length from those services” (Cantor Supp. Rep. ¶ 102).

WPATH is a longstanding and well-respected standard-setting organization whose

mission is “[t]o promote evidence based care, education, research, public policy, and

respect in transgender health” (WPATH Mission and Vision, 2023). As a practicing

physician in the field, I rely on WPATH’s multidisciplinary expertise when

considering best practices in the treatment of transgender patients. Defendants’

experts are highlighting a concern that a potential conflict of interest can exist when

clinical experts in a particular field participate in the development of clinical practice

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guidelines for that field. The value of WPATH is the inclusion of experience and

expertise from across a wide array of clinical specialties from around the world.

Putting a body of evidence in appropriate clinical context is important, and this is

most effectively done by providers who treat the patient population in consideration.

Moreover, the endorsement of major leading medical bodies as outlined in the

previous paragraph, who are less closely related to these services, lend credence to

the conclusions of the WPATH Standards of Care.

      14.    Dr. Laidlaw and Dr. Hruz also criticize the Endocrine Society

guidelines, specifically referring to the quality of evidence used in making the

recommendations therein (Laidlaw Rep. ¶ 196, Hruz Rep. ¶ 152). The Endocrine

Society utilized the Grading of Recommendations, Assessment, Development and

Evaluations (G.R.A.D.E.) framework that assigns quality scores to evidence based

on the type of studies performed, the size of those studies, and other factors.

According to G.R.A.D.E., the Endocrine Society gender-dysphoria guidelines relied

on low-quality and very-low-quality evidence in developing its recommendations. It

must be understood that “low-quality” does not mean incorrect evidence or bad

evidence. It does not mean that the studies relied upon were designed or carried out

poorly. What it does mean that there were no randomized controlled trials (RCTs)

studying gender-affirming care.



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      15.    Defendants’ experts discuss their concern regarding a lack of RCTs

(Hruz Rep. ¶ 121, Cantor Rep. Section III). While randomized control trials are an

excellent study design in some contexts, for many complex medical problems RCTs

are not feasible and/or are not ethical. If the only medicine practiced was that based

on results of RCTs, the list of treatable medical conditions would be extremely short.

Note that the majority of the Endocrine Society Clinical Practice Guidelines for

conditions other than gender dysphoria also rely on “low” or “very-low-quality

evidence” according to the G.R.A.D.E. framework.

      16.    For example, the Endocrine Society published a Clinical Practice

Guideline (CPG) in 2017 titled Pediatric Obesity – Assessment, Treatment, and

Prevention: An Endocrine Society Clinical Practice Guideline (Styne, et al., 2017).

This guideline proposes 30 recommendations and uses the G.R.A.D.E. framework

to grade these recommendations. Of the 30 recommendations in the pediatric obesity

CPG, 25 are based on “low” or “very-low-quality evidence.” For example,

recommendations outlining when bariatric surgery should and should not be

considered are based on “low-quality” or “very-low-quality” evidence based on the

G.R.A.D.E. framework. This recommendation is not graded higher because there is

no randomized control trial regarding bariatric surgery in youth, but yet there is

enough data through other methods of study to make these recommendations,

nonetheless. This is the nature of complex medical problems. If a problem was

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simple enough to study with an RCT, it would not likely need a Clinical Practice

Guideline to catalog and organize the literature and create best-practice

recommendations for providers in the field.

      17.    Specific to the study of the management of gender dysphoria, RCTs

measuring the most meaningful outcome – long-term quality of life – are not feasible

and not ethical. Because the goal of the provision of gender-affirming care in

adolescents is long term reduction in gender dysphoria and improvement in quality

of life and well-being, in order to conduct a meaningful RCT, patients would have

to be randomized to treatment versus no treatment, and quality of life would have to

be measured many years later in adulthood. The study could not be blinded since

patients and families would immediately ascertain which group they were

randomized to based on the progression or non-progression of puberty. In addition,

due to the current evidence supporting gender-affirming care, it would be unethical

to propose a study randomly assigning patients (Ashley, et al., 2023).

Patients/families desiring treatment with GnRHa or hormones would be unlikely to

consent to such a study for fear of being placed in the placebo group. Therefore,

researchers in this field must rely on other types of study design, such as longitudinal

cohort studies, which monitor change in symptoms over the course of treatment (de

Vries, et al., 2014), or cross-sectional studies comparing treated and untreated

persons (Turban, et al., 2022).

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      18.    A recent article by Nolan, et al. highlights this point (Nolan, et al.,

2023). In this study, authors do conduct a randomized control trial assessing

testosterone therapy for transgender and gender-diverse adults (ages 18-70). In this

study participants were randomized to receive testosterone at the start of the study

or after a three-month period. The participants receiving the testosterone had

improvement in gender dysphoria relative to the participants waiting to receive

testosterone during the three-month waiting period. This study is quite limited by

the fact that it was not blinded, and the time period measured was very short.

However, blinding patients to testosterone versus placebo is not practical (the effect

of testosterone are obvious to observe) and the withholding of testosterone longer

than three months was not attempted as the authors stated that this “design ensured

no individuals would be waiting longer than standard care” (the clinic has a three-

month waiting list). This study design pushes the boundary of what is possible with

RCTs in gender medicine but is not designed to assess long-term benefits of

testosterone therapy.

      19.    Dr. Laidlaw chooses to highlight several studies as examples of lack of

evidence of effectiveness of gender-affirming treatments. In his discussion of

Dhejne, et al.’s study published in 2011 (Laidlaw Rep. ¶¶ 208-211), Dr. Laidlaw is

correct that, among other things, this study demonstrates that even after receiving

appropriate gender-affirming care, transgender individuals are still at higher risk for

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negative mental health outcomes than the general population. However, Dr. Laidlaw

ignores that stigma around transgender identity (Bränström & Pachankis, 2021),

both 13 years ago in Sweden and in Alabama today, makes life more challenging for

transgender individuals. Further, the Dhejne study did not measure the difference in

mental health between transgender individuals who received evidence-based care,

and those who were unable to receive this care. In fact, the takeaway of Dhejne is

not that gender-affirming care is inappropriate, but rather that transgender people

require additional support during and after the process of transition.

      20.    Dr. Laidlaw also describes the efforts undertaken by himself and

colleagues to discredit the results of a Swedish study (Bränström & Pachankis,

2020a) that aimed to investigate rates of mood and anxiety disorder health care visits

and antidepressant and anxiolytic prescriptions in patients receiving hormonal or

surgical interventions (Laidlaw Rep. ¶ 212). Ultimately, while the authors of the

Swedish study conceded in a letter to the editor that their conclusion that “‘the

longitudinal association between gender-affirming surgery and lower use of mental

health treatment lends support to the decision to provide gender-affirming surgeries

to transgender individuals who seek them’ is too strong,” (Bränström & Pachankis,

2020b) they maintained that the study “serves an important purpose and fills an

important knowledge gap” (Bränström & Pachankis, 2020c). The study “lends



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support for expecting a reduction in mental health treatment as a function of time

since completing such treatment” (Bränström & Pachankis, 2020c).

      21.    Dr. Hruz takes a similar approach to Dr. Laidlaw, arguing that studies

of gender-affirming care have “major methodological limitations” and attempting to

discredit individual studies (Hruz Rep. ¶ 130). What Dr. Hruz ignores is that all

scientific studies have limitations. In fact, including a limitation section is critical

when publishing any manuscript in scientific journals (American Journal Experts

(AJE), updated Aug. 2023). That a study has limitations does not mean that the study

is dismissed out of hand. To the contrary, each study contributes to the collective

knowledge base and health care providers look at the entire body of evidence – as

well as their own clinical experience and that of their colleagues – to inform their

approach to treatment.

      22.    For example, Dr. Hruz critiques 2011 and 2014 studies by de Vries, et

al., which demonstrated that patients with gender dysphoria had improved

behavioral and emotional outcomes and depressive symptoms after receiving

medical treatment for their gender dysphoria. Dr. Hruz suggests that because the

participants were also receiving psychological support, it is not possible to know if

it was medical treatment or psychological support that caused the improvement in

mental health symptoms. He misunderstands that gender-affirming care does not

mean medications alone, but rather a constellation of medical treatment and

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psychosocial support. Separating these aspects of care does not make sense

clinically. In my view, the findings in these two studies provide strong evidence in

favor of gender-affirming treatment. It should also be emphasized that if a patient

receiving mental health support has resolution of gender dysphoria as a result of this

support, that patient would not require or be a candidate for a medical intervention.

      23.    Dr. Hruz also claims that the 2020 Turban, et al. study is cited as “proof

that pubertal blockade prevents suicide in transgender youth” (Hruz Rep. ¶ 131). As

I described in my prior report, there are a number of studies supporting the benefits

of GnRHa treatment (Shumer Rep. ¶ IV.3 n.30). While Dr. Hruz points out that the

rate of suicidality is high in both the group treated with GnRHa and the group that

did not receive the treatment, that does not mean that the treatment was unhelpful.

The Turban article is not claiming that pubertal blockade prevents suicide but does

show an important and meaningful finding: a reduction in suicidality (Turban, et al.,

2020).

      24.    Hruz also unfairly discounts the 2015 U.S. Transgender Survey (2015

USTS) and studies based on data from this survey (Hruz Rep. ¶ 131). The 2015

USTS serves as the “largest survey examining the experiences of transgender people

in the United States” with 27,715 respondents from all fifty states, D.C., American

Samoa, Guam, Puerto Rico, and U.S. military bases overseas (James, et al., 2016).

While extremely large population studies are logistically challenging, the USTS

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clearly and transparently outlines the recruitment methodology in Chapter 2 of its

full report. Its main outreach objective was “to provide opportunities to access the

survey for as many transgender individuals as possible in different communities

across the U.S. and its territories” (James, et al., 2016). Thus, it was appropriate for

the survey to use convenience sampling to achieve its goals. While there are inherent

limitations to studies that use this method to reach a large sample, in reviewing any

data derived from the 2015 USTS, it is important to consider not only limitations of

population-based survey data, but also the significant strengths of being able to

capture data from such a large cohort of individuals.

      25.    While previously faulting studies due to lack of a control group, Dr.

Hruz discounts (Hruz Rep. ¶ 131) the findings of a study with a control group (van

der Miesen, et al., 2020) on the basis that the group of patients assessed before

treatment with GnRHa are younger than the group of patients assessed after

treatment. But of course, any pre-GnRHa group will be younger than a post-GnRHa

group since GnRHa treatment is started in early puberty and discontinued in later

adolescence. Again, Dr. Hruz ignores the inherent limitations of conducting research

in clinical medicine.

      26.    Dr. Cantor’s supplemental report attempts to demonstrate that “[n]ew

research, employing methods superior to prior investigations, reports that transition

failed to improve mental health indicators” (Cantor Supp. Rep. ¶¶ 3-31) (bolding in

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original omitted). His report falls short of proving this assertion. He presents two

literature reviews (Thompson, et al., 2023; Christensen, et al., 2023), which are

summaries of research without new data; one article reporting improved mental

health scores (McGregor, et al. [in press]); one article concerning social transition

(Morandini, et al., 2023) not directly related to pubertal suppression or gender-

affirming hormone care; and finally two original articles outlining persisting mental

health burden in transgender individuals after medical transition (Glintborg, et al.,

2023; Kaltiala, et al., 2023). Critically important and not outlined by Dr. Cantor is

that neither the Glintborg study nor the Kaltiala study are specifically investigating

the direct effect of gender-affirming care on mental health.

         27.     In   sum,   Defendants’   experts   describe   well-designed   studies

investigating the effect of gender-affirming care as “low-quality” while

simultaneously presenting the conclusions of other studies in misleading ways to fit

their perspective.

   II.         Sex, Gender Identity, and Gender Dysphoria

         28.     Defendants’ experts ignore the role of gender identity when describing

sex and gender (Hruz Rep. ¶¶ 14-22). Sex is a concept used to distinguish male from

female, but as outlined in my report (Shumer Rep. ¶ I.1), sex involves many elements

that can, at times, be discordant from one another. Chromosomes, anatomy, and

hormones most often are concordant with one another (male or female), but this is

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not the case in individuals with differences in sex development, making sex

determination challenging at times. Similarly, gender identity is not always

concordant with other elements of one’s sex. In a review of this topic, Ristori, et al.

(2020) describe that “[t]he evidence suggests that the sexual dimorphic brain could

be the anatomical substrate of psychosexual development, on which gonadal

hormones may have a shaping role during prenatal and pubertal periods” and that

“according to several heritability studies, genetic components may have a role.”

These biological inputs that shape gender identity help explain the concept of “brain

sex.” That while not as observable as anatomic sex, or measurable as chromosomal

sex or hormonal sex, gender identity is a real and biologically based element of sex.

In my initial report (Shumer Rep. ¶ I.1), I cited the Institute of Medicine when

including gender identity as a component of sex. Dr. Cantor (Cantor Rep. ¶ 299)

accurately cites the Institute of Medicine with: “[s]ex is understood here as a

biological construct, referring to the genetic, hormonal, anatomical, and

physiological characteristics on whose basis one is labeled at birth as either male or

female.” My assertion is that by presenting the biological foundation of gender

identity, gender identity is accurately included as a component of sex.

      29.    Despite Dr. Hruz’s assertion that sex is not “assigned at birth,” it is a

fact that the majority of infants leave the hospital classified as either male or female

based on the appearance of their sexual anatomy. Whether or not this assignment or

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classification will match future gender identity is uncertain. Dr. Thompson uses a

phrase I have not heard before when she states, “[t]he phrase ‘gender assigned at

birth’ is a misnomer” (Thompson Rep. ¶ 25). While sex is assigned at birth (based

most often on anatomic sex), gender identity is the one element of sex that is not

knowable until the child is able to describe it for themself. While Dr. Hruz

acknowledges that when the sexual anatomy is ambiguous, other elements of sex

including chromosomes and hormones can be evaluated to better understand the

infant’s sex, he refuses to recognize that gender identity is another component of sex

with biological underpinnings (see Shumer Rep. ¶¶ I.5-8 and Ristori, et al., 2020).

Thus, Dr. Hruz correctly explains that in cases of ambiguity, “[c]urrent practice is to

defer sex assignment until the etiology of the disorder is determined and, if possible,

a reliable prediction can be made on likely biologic and psychologic outcomes”

(Hruz Rep. ¶ 19). This means that when there is discordance is some elements of sex

(anatomic, hormonal, chromosomal), the best practice is to delay sex assignment

until we feel we can choose a sex for the infant with the highest likelihood of

promoting a happy and healthy life, which includes attempting to match sex

assignment with future gender identity. Implicit in Dr. Hruz’s statement is that

sometimes we are wrong; the sex assigned at birth does not match future gender

identity. In children with differences in sex development (DSD), one may then state,

“we tried our best to assign sex, but we were wrong; now that the child can express

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themselves, the other sex assignment would have been correct.” When considering

children with gender dysphoria not born with a DSD, this same statement would be

appropriate. The difference is that there were no clues at birth alerting us to

discordant elements of sex. Herein lies the reason that I outlined the biological

underpinnings of gender identity (see Shumer Rep. ¶¶ I.5-8): while not as obvious

as in cases of DSD, a transgender person’s sex assigned at birth was equally not

correct.

       30.     Dr. Hruz states that “[t]he scientific and clinical measurement of sex is

done with highly reliable and valid objective methodologies” (Hruz Rep. ¶ 15). He

asserts this to differentiate gender identity from other elements of sex, in that gender

identity is based on self-report. While gender identity is subjective rather than

objective, this does not make gender identity less valid as a true and real

phenomenon, just as other elements of sex are true and real. There actually is a test

that can be used to discover someone’s gender identity: ask them. It is a human

characteristic that is ascertained through a conversation rather than a lab test. Gender

identity is a real human characteristic rooted in biology2.




2
  In my initial report I stated, “In one such study, the volume of the bed nucleus of the stria
terminalis (a collection of cells in the central brain) in transgender women was equivalent to the
volume found in non-transgender women.” I cited a study by WC Chung, et al. This assertion
should be attributed instead to a study by Zhou, et al. (1995). This citation has been added to the
bibliography in this supplemental report.
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      31.    Dr. Laidlaw and Dr. Hruz suggest that because gender dysphoria is in

some ways different from other endocrine conditions that they are more comfortable

treating, it should not be treated with medication (Laidlaw Rep. ¶¶ 20-21; Hruz Rep.

¶¶ 35, 55-58). While I disagree with their discomfort with classification of gender

dysphoria as an endocrine disorder, this debate is mere semantics and not pertinent

to the appropriate assessment and management of the condition. They argue that

most endocrine disorders involve hormones made in excess, hormone deficiencies,

or structural abnormalities of endocrine glands. Whether or not Dr. Laidlaw and Dr.

Hruz would like to classify gender dysphoria as an endocrine condition, several

pertinent facts remain clear. First, there is ample scientific evidence that gender

identity has a strong biological foundation (Shumer Rep. ¶¶ I.5-8). Second,

endocrinologists are uniquely suited to treat gender dysphoria due to familiarity with

prescribing and monitoring medications such as GnRHa, testosterone, and estrogen.

Third, countless medical conditions are diagnosed with clinical observation and

questioning rather than with a laboratory test, an imaging test, or examination of

cells under a microscope (e.g., migraines, neuropathic pain, irritable bowel

syndrome, fibromyalgia), but are no less actual medical diagnoses that improve with

medical interventions. Fourth, the American Board of Internal Medicine requires

knowledge of gender dysphoria and its management in order to become certified as

an Endocrinologist (American Board of Internal Medicine, 2023).

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      32.    Defendants’ experts attempt to discredit my assertion that gender

identity has a biological foundation. My initial report (Shumer Rep. ¶¶ I.5-8)

presents evidence of biological underpinnings of gender identity. However, like all

complex human characteristics, gender identity is not neatly explained by a single

gene; biological inputs are not completely understood. Dr. Thompson attempts to

refute this when she states, “[b]iological phenomena are tangible, immutable”

(Thompson Rep. ¶ 123). While gender identity is not able to be determined by a

simple blood test, there are tangible and immutable facts linking gender identity to

biology including anatomic differences in the brain (Zhou, et al., 1995), and strong

evidence of hormonal and genetic influences (Ristori, et al., 2020). Dr. Laidlaw

(Laidlaw Rep. ¶ 23) asserts that because not all identical twins are concordant in

gender identity, this somehow undermines my assertion. He is clearly

misrepresenting the purpose of twin studies. Twin studies allow us to demonstrate

that there is a genetic component contributing to a phenomenon under investigation.

For some human characteristics there is a clear inheritance pattern whereby a

particular gene is responsible for the presence or absence of the characteristic and

people with identical DNA (such as identical twins) will always be concordant with

the characteristic. These characteristics are called Mendelian traits. For example: the

presence or absence of freckles or a chin dimple; having medical conditions such as

Huntington’s disease or Duchenne muscular dystrophy; these are Mendelian traits

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and identical twins will be concordant with these characteristics 100% of the time

(Klug, et al., 2012). Other human characteristics are not at all genetically based (non-

heritable), and in these cases identical twins would be no more likely to be

concordant in having or not having the characteristic than fraternal twins or siblings.

An example of a non-heritable condition is a cancer caused by a mutation that occurs

after fertilization (Forsberg, et al., 2013) Clearly gender identity is not a Mendelian

trait, but the fact that more identical twins are concordant for gender identity than

fraternal twins does in fact suggest a genetic contribution.

      33.    Dr. Hruz states that the goal of endocrinology is to restore health (Hruz

Rep. ¶ 51). I would offer that this is a goal not only in endocrinology but all of

medicine. In my experience and in review of the literature, when I prescribe gender-

affirming care, consistent with the Endocrine Society’s clinical practice guidelines

and WPATH SOC, I am helping to restore health to my patient.

      34.    Dr. Laidlaw correctly points out that the number of young people being

referred to the Gender Identity Development Service in the United Kingdom has

increased significantly over time (Laidlaw Rep. ¶ 221) but wrongly suggests this

increase may be due in part to “social contagion” and “social media/internet use.”

Dr. Kaliebe asserts the same (Kaliebe Rep. ¶¶ 26-55). I would suggest an alternative

explanation that is not only more likely, but also supported by research. As

transgender individuals face less cultural stigma than in previous generations, young

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people understand that they will be supported and valued by their family and

community and are more likely to explore and discuss gender identity openly

(Zhang, et al., 2020). Two unrelated examples may make this concept more

understandable. First, in some countries, homosexuality is criminalized. In these

countries, there are very few openly gay citizens; however, actual rates of

homosexuality are not different from other countries (Shaeer O & Shaeer K, 2010).

Second, in many societies left-handed people have been historically encouraged as

children to use their right hands for writing and other fine-motor skills. However, in

the late 20th century, left-handedness became less stigmatized and the percentage of

left-handed people rose from about four percent in 1920 to 12 percent after 1950,

roughly the same percentage as today (McManus, 2009).

      35.    Defendants’ experts also suggest that the disproportionate increase in

transmasculine adolescents means that gender identity is not biological, but social

(Hruz Rep. ¶ 128; Laidlaw Rep. ¶¶ 220-223; Kaliebe Rep. ¶ 42). While they point

to research by Dr. Lisa Littman, that research has been heavily criticized, and her

conclusions have been called into question. For example, Dr. Littman’s recruitment

of parents for participation was biased in that her study relied heavily on three

specific websites popular among parents opposed to their children’s transgender

identity (Restar, 2020). What is more, the experts’ logic is flawed. There is no reason

why we would necessarily expect the rates of transmasculine people and

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transfeminine people to be equal. Furthermore, it would make sense for those rates

to change over time as cultural attitudes towards transmasculine people and

transfeminine people change. So long as a cultural bias against transgender people

remains, we might not know the true prevalence of transmasculine and transfeminine

people. As Dr. Hruz focuses on the increase in prevalence of gender dysphoria

among adolescents assigned female at birth (Hruz Rep. ¶¶ 127-128) it should be

noted that adolescence is a common time for transmasculine people to present to

care due to the onset of breast development and menstruation. Transfeminine

patients present more commonly younger or older than the mid-adolescent phase

(Urquhart, 2017), which may be in part due to the extreme difficulty for

transfeminine adolescents to be accepted and supported by peers. Furthermore, the

focus on transmasculine adolescents ignores that the percentage of individuals who

identify as transgender is higher today than in the past across all age groups and for

both individuals assigned male and female at birth (James, et al., 2016; Coleman, et

al., 2022a; Herman, et al., 2017).

   III.     Desistance

      36.     Dr. Laidlaw and Dr. Hruz assert that rates of “desistance” are very high

and therefore treatments as outlined by current standards of care will cause serious

and irreversible harm to children and adolescents (Laidlaw Rep. ¶¶ 224-225; Hruz

Rep. ¶¶ 62, 153). This fallacy is repeated by many opponents of gender-affirming

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care, including when Dr. Hruz cites Singh, et al. 2021 (Hruz Rep. ¶ 62), but this

misrepresents the data completely. It is true that the majority of prepubertal gender

diverse children exploring their gender do not develop gender dysphoria and are not

expected to become transgender adolescents or adults, but that is because they are

not transgender or meet the current definition of gender dysphoria in the first place.

Karrington reviews that much of the literature pertaining to desistance is discussing

changes in gender identity but not specific to a diagnosis of gender dysphoria

(Karrington, 2022). While Dr. Laidlaw cites data from studies of children across

wide age groups, ages 3-12 for example, he does not attempt to parse out important

clinical information such as the age and pubertal stage of so-called “desisters” in

these studies. Lastly, because prepubertal children are not treated with GnRHa or

hormonal medications for gender dysphoria, studies that look at prepubertal

children, such as those Dr. Laidlaw has cited, have no relevance to the question of

how to treat adolescents. Dr. Laidlaw again ignores the fact that children whose

gender dysphoria persists into adolescence are highly likely to be transgender (van

der Loos, et al., 2022).

      37.    Karrington (2022) performed a systematically guided review of the

topic and concluded that the word “desistance” itself does not lend itself to the

nuance of gender identity and gender exploration in childhood. The author writes:

“[t]he idea of desistance creates a false dichotomy (persistence or desistence) that

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only hinders provision of care by suggesting a possibility to predict future gender

identity. In addition, desistance does not take into consideration the myriad of

societal influences that can prevent a person from expressing their gender. Clinicians

can move beyond attempting to predict gender outcomes to focusing on ways to

support [transgender and gender expansive] youth as they discover themselves”

(internal footnote omitted).

      38.    Dr. Laidlaw also wrongly suggests that the use of “gender affirmative

therapy” alters the natural course of “desistance,” whereby patients prescribed

pubertal suppression are very likely to be prescribed gender-affirming hormones

later in adolescence (Laidlaw Rep. ¶¶ 56, 225). Dr. Hruz similarly claims that

GnRHa must influence the gender identity trajectory of treated patients given the

high percentage of patients proceeding from GnRHa to hormonal interventions later

in adolescence (Hruz Rep. ¶ 71). Here the experts are making a causal theory error

– making a claim of causation based on correlational evidence. Children with

persisting gender dysphoria into puberty (1) are very likely to have persisting gender

dysphoria into adulthood, and (2) are eligible for treatment with GnRHa. Patients

prescribed pubertal suppression are very likely to later be prescribed gender-

affirming hormones simply because gender dysphoria tends to persist if present at

the onset of puberty.



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      39.    Dr. Hruz describes two “approaches” for treating children with gender

dysphoria: “watchful waiting” and “gender affirming” (Hruz Rep. ¶¶ 59-64). Gender

exploration in childhood is expected and healthy. Of course, parents of a child

exploring their gender identity should not push the child to become transgender –

this makes no sense and would work just as poorly as parents pushing their children

to identify with their sex assigned at birth (referred to as reparative therapy), which

is both ineffective and harmful. Unlike the gender-affirming approach, which is well

supported by research and the experience of clinicians, including my own, there is

no evidence to support the “watchful waiting” approach Dr. Hruz describes.

      40.    Moreover, it is not clear how this “watchful waiting” approach is

supposed to work as a practical matter. When a child asks their parents to use a

different name or pronouns, the parent can either reject this request or accept this

request, there is no “neutral” response. If honoring a child’s chosen name and

pronouns is gender-affirming and rejecting the request is reparative therapy, what

does the watchful waiter do? If asked, I would suggest that parents allow their child

to safely explore gender identity, making it clear that whatever the future outcome,

the child will receive unconditional love, support, and respect. If using a different

name or pronoun would be helpful in the process of gender exploration, parents

should consider honoring that request.



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      41.    Furthermore, at the start of puberty, a child with persistent and/or

intensifying gender dysphoria is much more likely to be transgender (van der Loos,

et al., 2022) and will begin to exhibit secondary sex characteristics. In these

situations, it appears Dr. Hruz would categorize the use of GnRHa as part of the

“gender affirming” approach, and no medical intervention as “watchful waiting.”

However, the use of GnRHa in children exploring their gender identity was first

described by Delemarre-van de Waal and Cohen-Kettenis (2006) as a reversible

intervention allowing for delayed decision-making regarding hormone therapy, a

cautious strategy.

      42.    I do not agree with Dr. Hruz that providers of gender-affirming care are

presuming that development of “natural sex characteristics interfere with the

‘exploration’ of gender identity” as an impetus to offer GnRHa (Hruz Rep. ¶ 71).

Rather, GnRHa can prevent intensification of dysphoria during puberty while

enhancing the future ability of the patient to present to the world in a gender

congruent manner.

      43.    I agree with Dr. Hruz that providers should use caution when

“interfering with the normal process of sexual maturation” (Hruz Rep. ¶ 72). He

takes issue with describing GnRHa as “reversible” and speculates on other potential

risks of GnRHa treatment (Hruz Rep. ¶¶ 72-73). He mentions the increased

intracranial pressure as a rare side effect of GnRHa. It should be noted that this

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treatable complication of GnRHa is so rare that no cases were identified in patients

treated with GnRHa for gender dysphoria in Sweden over a 10-year period

(Karamanis, et al, 2023). Notwithstanding, my report does not assert that GnRHa

treatment has no potential risk and that suppressing a normally timed puberty is a

decision made lightly. That said, providers in this field are using caution when

prescribing GnRHa and gender-affirming hormones in adolescence, weighing

potential benefits against potential risks with each individual patient, in candid

communication with parents, and with the best intentions for the wellbeing of the

adolescent in question.

   IV.      Side Effects of Puberty Suppression and Hormone Treatment

      44.     Defendants’ experts’ reports are at times unbalanced or misleading

when presenting potential risks and benefits of gender-affirming care.

      45.     Dr. Laidlaw frames evidence-based treatments for gender dysphoria as

causing medical conditions, rather than acknowledging the similarity in how these

medications are used in different contexts. The underlying premise of Dr. Laidlaw’s

opinions seems to be that gender dysphoria is not a legitimate diagnosis worthy of

medical treatment.

      46.     For example, Dr. Laidlaw conflates the goal of therapy (suppression of

sex hormone production) with causing a medical condition (hypogonadotropic

hypogonadism).       Dr.   Laidlaw   correctly   defines   a   medical    condition,

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hypogonadotropic hypogonadism, as a condition in which the pituitary fails to send

signals to the gonads (Laidlaw Rep. ¶ 82). Dr. Laidlaw then describes gender-

affirmative therapy (specifically, pubertal suppression) as deliberately causing the

medical condition hypogonadotropic hypogonadism (Laidlaw Rep. ¶ 89). In his

report, Dr. Laidlaw described the use of GnRHa in treatment of prostate cancer and

precocious puberty. In his discussion of these examples, he did not frame GnRHa as

causing the medical condition hypogonadotropic hypogonadism in those patients but

described the use of GnRHa as effective treatment for these other conditions. GnRHa

is also an effective treatment for gender dysphoria.

      47.    Dr. Laidlaw’s report repeats this same wordplay tactic in describing the

administration of testosterone as inducing hyperandrogenism in transgender men

(Laidlaw Rep. ¶¶ 130-147), and administration of estrogen as inducing

hyperestrogenism in transgender women (Laidlaw Rep. ¶¶ 149-156). In his May

2023 supplemental confidential report, he describes the gender-affirming treatments

received by Plaintiffs as causing these medical problems. He also presents in his

original report an alarming appearing graphic demonstrating that transgender men

have testosterone levels in a range similar to women with endocrine tumors (Laidlaw

Rep. Fig. 4) . He is omitting the fact that the range represented by the orange bar in

Figure 4 labeled “FTM Transition” is also the normal male range of testosterone, the

goal range when treating transgender men with testosterone. By omitting this fact

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and presenting data in a misleading manner, Dr. Laidlaw is providing an unbalanced

description of risk.

      48.    In reality, when testosterone is prescribed for gender dysphoria to

transgender boys and men, the goal is to achieve a normal male testosterone level

based on age, meaning a testosterone level that is consistent with the normal

testosterone levels for cisgender males of similar age; when estrogen is prescribed

for gender dysphoria as it is for transgender females, the goal is to achieve a normal

female estrogen level based on age, meaning an estrogen level that is consistent with

the normal estrogen levels for cisgender females of similar age (Coleman et al.,

2022a; Hembree et al., 2017). These goals mirror what an endocrinologist would

aim for when treating low testosterone or ovarian failure in cisgender individuals.

      49.    Dr. Laidlaw’s Figure 4 depicts the testosterone range for transgender

men in an alarming way, equating it to the range expected when cisgender women

have an endocrine tumor. I have included the figure from Dr. Laidlaw’s report for

reference:




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                     Figure 1: Dr. Laidlaw’s Figure 4



   The goal range for testosterone for transgender men appears much less

   alarming when visually depicted alongside the normal range for cisgender

   men. Here in Figure 2, I have updated the chart designed by Dr. Laidlaw but




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      included the normal range for testosterone in males in order to clarify:




    Figure 2: A version of Dr. Laidlaw’s Figure 4 which also includes the normal

                               male testosterone range.

      50.   Defendants’ reports also misconstrue the effect of GnRHa on fertility.

Dr. Thompson misrepresents my discussion on this topic by stating that GnRHa

followed by gender-affirming hormones may impact fertility, which is not in dispute

(Thompson Rep. ¶ 125). Dr. Laidlaw correctly explains that giving GnRHa to a four-

year-old with precocious puberty will not impair fertility (Laidlaw Rep. ¶ 97). Dr.

Thompson argues that GnRHa, “[i]f administered at Tanner stage 2, before gametes

are mature, continuous administration of GnRHa makes the full maturation of the

gametes impossible.” (Thompson Rep. ¶ 59) (bolding and italics in original omitted).


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She leaves out that withdrawal from GnRHa would result in full maturation of

gametes. (Thompson Rep. ¶ 59).

       51.    Dr. Laidlaw and Dr. Thompson cannot claim that GnRHa cause

infertility; they can only correctly point out that progression through puberty – at

some point – is needed for maturation of sperm and eggs. Dr. Laidlaw posits that

gender-affirming hormones could possibly damage immature gonads (Laidlaw Rep.

¶¶ 98, 141) without providing supportive data. So long as gonads remain in place,

there remains fertility potential. To be sure, this would require progression through

the puberty associated with the sex assigned at birth.

       52.    In the context of gender-affirming care, concerns about fertility are

discussed with adolescent patients and their families when receiving both GnRHa as

treatment and/or gender-affirming hormones. Indeed, SOC 8 recommends that

“health care professionals working with transgender and gender diverse adolescents

requesting gender-affirming medical or surgical treatments inform them, prior to

initiating treatment, of the reproductive effects including the potential loss of fertility

and available options to preserve fertility within the context of the youth’s stage of

pubertal development.” (Coleman, et al., 2022a).

       53.    What is more, egg retrieval and cryopreservation can be offered after a

brief cessation of GnRHa treatment but before testosterone (Martin, et al., 2021) and

has also been successful during GnRHa treatment (Rothenberg, et al., 2019).

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      54.    Even if gender-affirming hormones were introduced following use of

GnRHa, these hormones could be discontinued with a goal of progression through

internal puberty and achieving fertility. Withdrawal of hormones in adulthood

often is successful in achieving fertility when it is desired (Light, et al., 2014;

Knudson, et al., 2017). Defendants’ experts are skeptical that a patient who

received GnRHa followed by hormones would have any fertility potential (Laidlaw

Rep. ¶ 157; Hruz Rep. ¶ 91). While this would likely require discontinuation of all

medication and progression through puberty, there has been a study aiming to

investigate this question. Caanen, et al. demonstrated that transgender men have

similar ovarian morphology to cisgender women, even when treated with GnRHa

followed by testosterone. These treatments did not cause the ovarian changes

which are seen in hyperandrogenic women with polycystic ovarian syndrome and

infertility (Caanen, 2017). This lends credence to the expectation that the sequence

of GnRHa to testosterone does not cause permanent infertility.

      55.    That said, the topic of fertility is critically important to discuss with

patients and families considering any gender-affirming intervention. It should be

made clear that endogenous puberty is necessary for fertility potential. It is also

critical to understand that the value placed on fertility and the subsequent weight

given to the risk for infertility may not be the same for all persons. While fertility

may be more important than all other considerations for some transgender youth

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and their parents, the same may not be true for others. Persky, et al. 2020 explored

these topics with youth and parents, finding that few youth (20%) and parents

(13%) found it important to have biological children or grandchildren, and 3% of

youth and 33% of parents would be willing to delay gender-affirming treatments

for fertility preservation. Clearly a person’s individual attitudes on fertility can and

do change. That said, individual values and priorities affect the weight given to

potential risks and benefits in all areas of medicine, including gender-affirming

care. In my practice, our multidisciplinary team works with every patient and

family to identify their values and priorities and how these priorities affect the

weight given to potential risks and benefits of medical intervention in the context

of the patient’s gender dysphoria.

      56.    Dr. Laidlaw also raises concerns about future sexual function in patients

prescribed GnRHa (Laidlaw Rep. ¶¶ 98-100). In my experience, it is essential to

have open, age-appropriate discussions around sex and sexuality while respecting

that all persons, including transgender people, are diverse in terms of sexual

orientation and desires. Sexuality and sexual function should be considered and

maximized as transgender patients reach adulthood. However, it should not be

underestimated how a positive body image is also associated with better sexual

function and satisfaction (Nikkelen & Kreukels, 2018). Additionally, research



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clearly shows that persons with untreated gender dysphoria may have significant

challenges with sexuality and sexual function (Holmberg, et al., 2019).

      57.    Defendants’ experts’ concerns about bone density in patients prescribed

GnRHa are likewise exaggerated and misleading (Laidlaw Rep. ¶¶ 101-112; see also

Hruz Rep. ¶ 79). It is accurate to state that pubertal hormones (either testosterone or

estrogen) contribute to bone density accrual. A person who never was exposed to

any sex hormones for their entire life would be at high risk of osteoporosis. It is not

surprising that the Carmichael study referenced (Laidlaw Rep. ¶ 105) found that

there is a reduction in Z-scores in adolescents on GnRHa aged 12-15 during the time

of treatment when compared to age-matched controls. What is misleading, however,

is that these patients will be transitioned off GnRHa when a decision is made

regarding treatment with gender-affirming hormones or to resume puberty consistent

with their birth-assigned sex. After exposure to sex hormones (i.e. treatment with

gender-affirming hormones, or withdrawal of GnRHa treatment and resumption of

endogenous puberty), bone density accrual will rise. In practice, risk of lower bone

mineral density is mitigated by screening for, and treating, vitamin D deficiency

when present, and by limiting the number of years of treatment with GnRHa based

on a patient’s clinical course (Rosenthal, 2014).

      58.    Dr. Nangia (Nangia Rep. ¶ 44) and Dr. Laidlaw raise a hypothetical

concern regarding brain development, suggesting that somehow use of GnRHa has

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“unknown, but likely negative, consequences … with respect to brain development”

(Laidlaw Rep. ¶ 113). I have heard this argument from opponents of GnRHa used

before but have difficulty understanding its basis. For example, when considering

children with naturally occurring delayed puberty, I find no published evidence of

negative consequences to brain development compared with children with normally

timed puberty. Likewise, Dr. Laidlaw can point to no published evidence in support

of this concern in transgender adolescents prescribed GnRHa.

      59.    Dr. Thompson is concerned with the use of GnRHa in patients assigned

female at birth due to the fact that the menstrual cycle can be used as a “vital sign”

and aberrations to the cycle can be a sign of an underlying disease (Thompson Rep.

¶ 60). While she does not submit an example, I would respond that competent

clinicians evaluate the health of transgender boys on pubertal suppression with the

knowledge that the menstrual cycle is being suppressed, and I find no literature or

case reports highlighting a missed diagnosis of an important condition due to the

absence of the ability to use the menstrual cycle as a vital sign.

      60.    Dr. Laidlaw also misrepresents the risks of using the hormone

testosterone to treat gender dysphoria (Laidlaw Rep. ¶¶ 120-129). He correctly

explains that when treating men with testosterone deficiency, the dose of

testosterone “must be carefully considered and monitored to avoid excess levels”

(Laidlaw Rep. ¶ 121). This is equally true when using testosterone for treatment of

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gender dysphoria. He mentions that some individuals abuse testosterone by taking

more than prescribed (Laidlaw Rep. ¶ 123), but it is unclear if he is implying that

transgender men would be more likely to do this than others, which I would not

expect and find no data to support. All of the adverse effects of excessive

testosterone that endocrinologists like Dr. Laidlaw avoid by carefully monitoring

their cisgender patients with low testosterone (e.g., overtreatment can cause

excessive libido, headache, erythrocytosis) are similarly avoided by careful

monitoring in transgender men.

      61.   Dr. Laidlaw discusses the risk that transgender men may have in

developing erythrocytosis (elevation in the red blood cell measurement, hematocrit)

while being treated with testosterone (Laidlaw Rep. ¶¶ 143-147). Dr. Laidlaw is

using the female reference range for hematocrit to make this assertion, again

considering these patients as females with hyperandrogenism rather than

transgender men receiving evidence-based care for gender dysphoria. This is

inappropriate; the male reference range for hematocrit should be used for

transgender patients on testosterone treatment (Deutsch, 2016).

      62.   Similarly, Dr. Hruz suggests that testosterone administration to a

person assigned male at birth may have different effects than when given to a person

assigned female at birth since there are thousands of sex-differentially expressed

genes (Hruz Rep. ¶ 48). While this speculation could be potentially true, Dr. Hruz

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does not provide a clinical example of how this could be of concern, and I am not

aware of any research elaborating on this suggestion.

      63.    Dr. Laidlaw makes parallel arguments regarding estrogen (Laidlaw

Rep. ¶¶ 148-156) by pointing out the elevated estrogen can be associated with health

problems, while ignoring that the goal of treatment with estrogen in gender

dysphoria is maintenance of estrogen levels in the normal female range. Risk for the

health concerns he highlights are avoided by careful monitoring of estrogen levels

in transgender women.

      64.    Dr. Laidlaw states that the risk for breast cancer increases when a

“male” is treated with “high dose estrogen” (Laidlaw Rep. ¶ 155). This misrepresents

the risks. It is of course not surprising that transgender women with breasts are at

higher risk for breast cancer than men without breasts. What Dr. Laidlaw leaves out

of his discussion is the complete findings of the Christel article referenced. That

article found that despite an increased risk of breast cancer in transgender women

compared with cisgender men, there was a lower risk when comparted to cisgender

women. The article concluded the study’s results suggested that “breast cancer

screening guidelines for cisgender people are sufficient for transgender people using

hormone treatment” (Christel, et al., 2019).

      65.    Drs. Laidlaw and Hruz argue that risks of gender-affirming care

outweigh the benefits. They are overrepresenting the description of risk while

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discounting the benefits of treatment. Gender-affirming care when prescribed

appropriately to patients with gender dysphoria improves long-term quality of life

and reduces risk for depression, anxiety and suicidality (de Vries, et al., 2014; de

Vries, et al., 2011; Green, et al., 2022; Smith, et al., 2005; Turban, et al., 2022).

        66.     Dr. Lappert, who is a retired surgeon, cites my expert report where I

suggested GnRHa could obviate the need for surgery (e.g. transgender men would

not require mastectomy, transgender women would not require facial feminization

surgery if they never completed an endogenous puberty). He argues that testosterone

use in transgender men increases the likelihood of hysterectomy because “it

produces the conditions of polycystic ovary syndrome, uterine atrophy, and vaginal

atrophy” (Lappert Rep. ¶ 30). The citation he provides after this assertion does not

include any studies supporting the notion that testosterone use increases the

likelihood of hysterectomy, nor am I familiar with data making this direct

connection. Rather, adult transgender men who are treated with testosterone have

gender dysphoria, and are electing to have hysterectomy as part of a gender-

affirming treatment, not because testosterone has caused a medical problem.

   V.         Informed Consent

        67.     Defendants’ experts argue that it is not possible for parents and

adolescents to make truly informed assent and consent decisions regarding gender-

affirming care. The suggestion is that this decision is somehow different from other

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complex medical decisions that parents and guardians make regarding the health and

wellness of their children every day (Nangia Rep. ¶¶ 61-114). Dr. Nangia is

underestimating the capacity of parents and guardians to understand and balance

information pertaining to the health of their children. Pediatricians are trained to

discuss topics that are challenging, to explain medical options at an age-appropriate

level, to assess for patient and family understanding, to review patient and family

values and priorities, and to make shared decisions about complex medical problems

every day. WPATH SOC 8 clearly outlines criteria for how providers obtain assent

and consent for medical intervention (Coleman, et al., 2022a).

      68.    Dr. Hruz considers these treatments “experimental,” and as a result,

patients and their parents cannot provide informed consent (Hruz Rep. ¶¶ 106, 113).

However, gender-affirming care is not experimental – it is based on significant

scientific research and clinical experience and is supported by every major medical

association in the country (Shumer Rebuttal Rep. ¶ 12). As a provider of gender-

affirming care, it is my opinion that withholding gender-affirming care would violate

the basic tenets of medicine. Gender dysphoria has treatment options that are

supported by evidence; therefore, withholding those treatment options is harmful.

      69.    In my initial report I wrote, “[a]ttempts to ‘cure’ transgender

individuals by forcing their gender identity into alignment with their birth sex has

been found to be both harmful and ineffective” (Shumer Rep. ¶ I.4) Dr. Thompson

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suggests I “[do] not describe what this means” (Thompson Rep. ¶ 124), but on the

contrary, I explained that attempts at this type of therapy have been associated with

higher rates of suicidality, suicide attempt, and running away from home (Turban,

et al., 2020; Campbell & Rodgers, 20223).

       70.    Dr. Hruz further claims that parents cannot provide informed consent

because providers often threaten parents that “failure to allow a gender dysphoric

child to medically transition will result in suicide” (Hruz Rep. ¶ 114). Dr. Hruz

provides no support for this assertion, and I personally have never considered

making this kind of statement to patients or their families; this is not common

practice nor is it suggested in the SOC. In contrast, consistent with the SOC, I am

always clear with patients and parents that I consider every perspective in the room

valid and rooted in the intention to make the best decision for the health of the

adolescent. Any complete assessment of an adolescent’s gender identity includes

vital information from parents, who have much more knowledge of their child than

their health care providers could ever have. Most often, careful exploration of the

desires, fears, questions, and concerns of both patients and parents leads to better

understanding and improves collaboration and the ability to make sound medical

decisions together.



3
 In my prior report the citation to Campbell & Rodgers indicated the year as 2002. The correct
year of publication is 2022 as indicated in this report.
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      71.    Unfortunately, the rates of suicidal ideation and attempt in this patient

population are significantly elevated compared to the general population (Reisner,

et al., 2015). Dr. Hruz discusses that rates of suicidal ideation and attempt in

transgender adolescents are similar to rates for adolescents referred for psychiatric

care for other reasons (Hruz Rep. ¶ 115). This is correct and alarming, a point which

only supports the notion that comprehensive evidence-based care, including

hormonal interventions when indicated, is so critical.

      72.    Dr. Hruz then references Dr. S. B. Levine in stating that informed

consent in this context fails with respect to discussion of the natural history of gender

dysphoria in adolescents, the quality of evidence regarding gender-affirming care,

and the handling of the question of suicide (Hruz Rep. ¶ 116). In my own practice,

consistent with the SOC, I am careful to review the evidence pertaining to the

treatment of gender-affirming care with patients and families and reject the claim

that the consent process is limited by “‘erroneous professional assumptions’” or

“‘poor quality of the initial evaluations’” (Hruz Rep. ¶ 116). As a provider well-

connected with others in the field, I submit that providers across the country take the

same care when describing potential risks and benefits of gender-affirming care. Dr.

Cantor cites Bisno, et al. (2023) to claim that endocrinologists do not require

psychosocial evaluations prior to the initiation of gender-affirming hormones

(Cantor Supp. Rep. ¶¶ 71-73). The article cited did not include any pediatric

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endocrinologists and psychosocial evaluation is a critical component of assessment

and treatment of gender dysphoria in youth as recommended by both WPATH and

the Endocrine Society (Coleman, et al., 2022a; Hembree, et al., 2017).

      73.




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I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

      Executed this 25th day of March 2024.




                                               ______________________________
                                               Daniel Shumer, M.D.




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